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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1131V
                                    Filed: February 18, 2016
                                           Unpublished

****************************
SUSANNE WHIRLEY,                          *
                                          *
                     Petitioner,          *      Damages Decision Based on Proffer;
                                          *      Influenza (“Flu”) Vaccine; Left Shoulder
                                          *      Injury; Shoulder Injury Related to
SECRETARY OF HEALTH                       *      Vaccine Administration (“SIRVA”);
AND HUMAN SERVICES,                       *      Special Processing Unit (“SPU”)
                                          *
                     Respondent.          *
                                          *
****************************
Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.
Debra Filteau Begley, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On October 6, 2015, Ms. Whirley filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act”]. Petitioner alleges that she suffered a left shoulder injury which was
caused in fact by an influenza (“flu”) vaccine she received on October 3, 2014.
Petition at Preamble. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

        On January 28, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation. On February 18, 2016, respondent filed a proffer on award of
compensation [“Proffer”] stating petitioner should be awarded $70,000.00, in pain and
suffering and $1,046.93, for payment of a Medicaid lien. Proffer at 1. In the Proffer,
respondent represents that petitioner agrees with the proffered award. Based on the
1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).

                                                      1
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record as a whole, the undersigned finds that petitioner is entitled to an award as stated
in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner the following:

    A. A lump sum payment of $70,000.00, in the form of a check payable to
       petitioner, Suzanne Whirley, and

    B. A lump sum of $1,046.93, representing compensation for satisfaction of the
       State of Illinois Medicaid lien, in the form of a check payable to petitioner
       and Optum. Petitioner agrees to endorse this check to Optum and agrees to
       mail payment to:

                                          Optum
                                          75 Remittance Drive
                                          Suite 6019
                                          Chicago, IL, 60675-6019

        These amounts represents compensation for all damages that would be available
under § 300aa-15(a). The clerk of the court is directed to enter judgment in accordance
with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

*************************************
SUSANNE WHIRLEY,                    *
                                    *
                  Petitioner,       *                         No. 15-1131V
                                    *                         CHIEF SPECIAL MASTER
v.                                  *                         NORA BETH DORSEY
                                    *
SECRETARY OF HEALTH AND             *
HUMAN SERVICES,                     *
                                    *
                  Respondent.       *
*************************************

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Items of Compensation

       For purposes of this proffer, the term “vaccine-related” is as described in Respondent’s

Rule 4(c) Report, filed on January 28, 2016, conceding entitlement in this case. Based upon the

evidence of record, respondent proffers that petitioner should be awarded $70,000.00 in pain and

suffering and $1,046.93 for payment of a Medicaid lien. The Medicaid lien represents full

satisfaction of any right of subrogation, assignment, claim, lien, or cause of action that the State

of Illinois may have against any individual as a result of any Medicaid payments the State of

Illinois has made to or on behalf of petitioner from the date of her eligibility for benefits through

the date of judgment in this case as a result of her vaccine-related injury suffered on or about

October 3, 2014, under Title XIX of the Social Security Act.

       These payments represent all elements of competition to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a) for her vaccine-related injury.1 Petitioner agrees.



       1
         Should petitioner die prior to entry of judgment, the parties reserve the right to move
the Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.
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II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be made

through lump sum payments described below, and request that the Chief Special Master’s

decision and the Court’s judgment award the following:

       A.       A lump sum of $70,000.00 in the form of a check payable to petitioner, Suzanne
                Whirley, and

       B.       A lump sum of $1,046.93, representing compensation for satisfaction of the State
                of Illinois Medicaid lien, in the form of a check payable to petitioner and Optum.
                Petitioner agrees to endorse this check to Optum and agrees to mail payment to:

                                                    Optum
                                             75 Remittance Drive
                                                  Suite 6019
                                            Chicago, IL 60675-6019

These amounts account for all elements of compensation under 42 U.S.C. § 300aa-15(a) to
which petitioner would be entitled.

Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                     Respectfully submitted,

                                                     BENJAMIN C. MIZER
                                                     Principal Deputy Assistant Attorney General

                                                     RUPA BHATTACHARYYA
                                                     Director
                                                     Torts Branch, Civil Division

                                                     VINCENT J. MATANOSKI
                                                     Deputy Director
                                                     Torts Branch, Civil Division

                                                     HEATHER L. PEARLMAN
                                                     Senior Trial Attorney
                                                     Torts Branch, Civil Division




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                                          /s/ DEBRA A. FILTEAU BEGLEY
                                          DEBRA A. FILTEAU BEGLEY
                                          Trial Attorney
                                          Torts Branch, Civil Division
                                          U.S. Department of Justice
                                          P.O. Box 146
                                          Benjamin Franklin Station
                                          Washington, D.C. 20044-0146
                                          Phone: (202) 616-4181
Dated: February 18, 2016




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